                                        Case 3:16-cv-01784-BEN-BLM Document 31 Filed 01/02/17 PageID.208 Page 1 of 2


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                                   13    Marissa Glover
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                                                             UNITED STATES DISTRICT COURT
                                   15                      SOUTHERN DISTRICT OF CALIFORNIA
                                   16
                                         MARISSA GLOVER,                        Case No.: 16-cv-1784 BEN (BLM)
                                   17
                                                       Plaintiff,               NOTICE OF SETTLEMENT RE:
                                   18                                           DEFENDANT EXPERIAN
                                                               v.               INFORMATION SOLUTIONS, INC.
                                   19
                                         JPMORGAN CHASE BANK,                   HON. ROGER T. BENITEZ
                                   20
                                         N.A.; EQUIFAX
                                   21    INFORMATION SERVICES,
                                         LLC; EXPERIAN
                                   22
                                         INFORMATION SOLUTIONS,
                                   23    INC.; AND, TRANS UNION
                                         LLC,
                                   24
                                   25
                                                        Defendants.
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                                         NOTICE OF SETTLEMENT RE: DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.
                                        Case 3:16-cv-01784-BEN-BLM Document 31 Filed 01/02/17 PageID.209 Page 2 of 2



                                    1          NOTICE IS HEREBY GIVEN that the dispute between Plaintiff
                                    2    MARISSA GLOVER (“Plaintiff”) and Defendant EXPERIAN INFORMATION
                                    3    SOLUTIONS, INC. (“Experian”) only has been resolved in its entirety. The Parties
                                    4    anticipate filing a Joint Motion for Dismissal of Experian with Prejudice within 60
                                    5    days. Plaintiff requests that all pending dates and filing requirements with regard
                                    6    to Experian be vacated and that the Court set a deadline on or after March 2, 2017
                                    7    for filing a Joint Dismissal.
                                    8
                                    9
                                         Dated: January 2, 2017                                     Respectfully submitted,
                                   10
                                   11                                                      KAZEROUNI LAW GROUP, APC
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                                   12
                                                                                      By: ____/s/ Matthew M. Loker___
    C OSTA M ESA , CA 92626




                                   13                                                          MATTHEW M. LOKER, ESQ.
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                                         NOTICE OF SETTLEMENT RE: EXPERIAN                                   PAGE 1 OF 1
